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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



United States of America,                        Criminal No. 09-30 (5) (RHK/JJK)

                          Plaintiff,                        ORDER

vs.

Keith Edward Faircloth,

                       Defendant.



      Before the Court is Defendant’s Pro Se Motion for a reduction of sentence;

Defendant is serving a prison sentence of 120 months. The Government opposes the

Motion because “the defendant is not entitled to a sentence reduction below the

mandatory minimum 120-month term of imprisonment, as required under 21 U.S.C.

§ 841(b)(1)(A).” The Court agrees and the Motion (Doc. No. 417) is DENIED.


Dated: January 27, 2012
                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
